
USCA1 Opinion

	













                            United States Court of Appeals
                            United States Court of Appeals
                                For the First Circuit
                                For the First Circuit
                                 ____________________

        No. 95-2095

                         GEORGE LABARRE AND CHERLINE LABARRE,

                                Plaintiffs, Appellees,

                                          v.

                       MERRILL J. SHEPARD AND THOMAS M. PARKS,

                               Defendants, Appellants.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

               [Hon. Charles S. Swartwood, III, U.S. Magistrate Judge]
                                                _____________________

                                 ____________________

                                        Before

                                 Selya, Circuit Judge,
                                        _____________
                           Campbell, Senior Circuit Judge,
                                     ____________________
                              and Stahl, Circuit Judge.
                                         _____________

                                 ____________________

            Timothy  G. Kerrigan with  whom Hamblett  &amp; Kerrigan,  P.A. was on
            ____________________            ___________________________
        brief for appellants.
            David V. Shablin with  whom Raymond J.  Reed and Reed &amp; Reed  were
            ________________            ________________     ___________
        on brief for appellees.


                                 ____________________

                                     May 28, 1996
                                 ____________________






















                      STAHL,  Circuit  Judge.    Merrill J.  Shepard  and
                      STAHL,  Circuit  Judge.
                              ______________

            Thomas  M. Parks  appeal from  the  judgment against  them in

            favor of George LaBarre  and Cherline LaBarre.  A  jury found

            that   Shepard  and   Parks:  (1)  improperly   and  unfairly

            foreclosed the mortgage they held on the LaBarres' residence;

            (2) breached an agreement to avert the foreclosure; committed

            (3) misrepresentation and  (4) fraud; and  (5) engaged in  an

            unfair  trade  practice  in  violation   of  New  Hampshire's

            Consumer Protection  Act.  On appeal, Shepard and Parks raise

            two narrow issues:  first, that admission  of evidence of  an

            alleged oral agreement, whereby  the LaBarres would deliver a

            deed in lieu of foreclosure,  violated the Statute of Frauds;

            and,  second,  that  the   damages  awarded  were  improperly

            duplicative.     Disagreeing   with  the   appellants'  first

            contention, but agreeing as to the second, we affirm in part,

            reverse in  part, and  remand for  correction of the  damages

            award.

                                          I.
                                          I.
                                          __

                                      Background
                                      Background
                                      __________

                      On October 20, 1989, the LaBarres purchased a newly

            erected house  and surrounding land in  Weare, New Hampshire,

            from Shepard and  Parks, the builders.1   The purchase  price

                                
            ____________________

            1.  This is a  unusual case.  The record reveals  a number of
            anomalies in  the  underlying real  estate  transaction,  the
            foreclosure  process, and  the  litigation in  the state  and
            federal trial  courts.  Because none  of these irregularities
            is material to the  narrow issues on appeal, we  merely point

                                         -2-
                                          2















            was $229,000; the LaBarres paid $11,450 cash and gave Shepard

            and  Parks  a promissory  note  in  the  amount of  $217,550,

            secured by a first mortgage on  the premises.  No payments of

            principal or interest were  due on the note until  either the

            LaBarres sold certain other real estate or the passage of two

            years from the date of the note's execution.2

                      In  October 1990,  the  LaBarres  sued Shepard  and

            Parks   in   New   Hampshire   state  court   for   defective

            construction,  seeking recision and  money damages.   Shepard

            and Parks counterclaimed for principal and interest allegedly

            due on  the mortgage note.   After  a bench trial,  the court

            denied recision,  but found defective construction that would

            cost  $38,000 to repair.   Accordingly, on June  7, 1993, the
















                                
            ____________________

            them out in footnotes  to help the reader understand  the odd
            posture of this case.

            2.  The promissory  note, while  providing for a  deferral of
            payments  for  up  to two  years,  did  not  provide for  any
            installment payments  thereafter nor  for a  balloon payment.
            The  parties, however, do not raise any issues concerning the
            note and agree on the amount due thereunder.

                                         -3-
                                          3















            court entered  judgment,3 deducting the cost  of repairs from

            the mortgage balance.4

                      In the summer of  1993, Shepard and Parks initiated

            foreclosure  proceedings against the LaBarres for the balance

            then  due  on the  mortgage note.5    A foreclosure  sale was

                                
            ____________________

            3.  This judgment is impossible to decipher.  The state trial
            judge  found that the LaBarres had "sustained their burden of
            proof on their claim of damages" and "assessed" those damages
            at  $38,000.    The  judge then  stated  that  "[d]efendants'
            counterclaim is DENIED without prejudice to assert a separate
            action, if necessary."  In spite of denying the  counterclaim
            for the mortgage balance due, the judge did not make an award
            of  money damages,  but  rather deducted  the $38,000  damage
            award from the balance due on the note.  The judge went on to
            present  "the correct  methodology  for recalculation  of the
            promissory note," arriving  at a "[t]otal due under  terms of
            promissory  note" of $239,729.   The decree ended:  "Judgment
            entered in accordance with the foregoing."
                      Inexplicably, both parties and the magistrate judge
            consider  this to  be a  judgment for  Shepard and  Parks for
            $239,729, when  the state court judge  expressly denied their
                                                             ______
            counterclaim.   We ignore  this problem, though,  because the
            magistrate judge  ultimately used the state  court "judgment"
            to  measure  the  proper  award on  the  mortgage  deficiency
            counterclaim brought  by Shepard and Parks;  hence, there was
            no  award on the state judgment itself.  Neither party raises
            any question about the state court judgment on appeal.  Given
            this  posture, we too shall refer to the state court mortgage
            balance calculation as a "judgment," though it seems at  best
            to be a finding of fact.

            4.  The balance was recalculated as follows:

            Original Principal balance on mortgage note      $217,500
            less: Cost to repair defects                       38,000
                                                               ______
            Net principal due on mortgage note               $179,500
            plus: Interest due on net principal as of 5/20/93  59,609
                                                               ______
            TOTAL DUE AS OF 5/20/93                          $239,109
            Interest Per Diem:  $34.32
            TOTAL DUE AS OF JUDGMENT DATE 6/7/93             $239,729

            5.  The  record does  not  reveal whether  Shepard and  Parks
            initiated  the foreclosure  proceedings  before or  after the
            entry of the state  court judgment recalculating the mortgage

                                         -4-
                                          4















            scheduled for September 22, 1993.  At some point prior to the

            foreclosure sale,  Shepard  and Parks  obtained a  "drive-by"

            appraisal that indicated a fair market value of $150,000, and

            the LaBarres were informed of that appraisal.

                      According  to  the  LaBarres,  their  lawyer orally

            agreed  with  the  lawyer  for  Shepard  and  Parks that  the

            LaBarres  would deliver a deed in lieu of foreclosure, and in

            return,  Shepard and  Parks  would credit  the full  $150,000

            appraised value of the property in determining the deficiency

            owed under the  state court judgment.   In consideration  for

            the agreement,  the LaBarres  allegedly  offered Shepard  and

            Parks access  to their  home for  a more  thorough appraisal.

            Shepard  and Parks  assert that no  such agreement  was made.

            There is no written agreement, nor any other writing or notes

            concerning the alleged oral agreement between the lawyers.  

                      The  LaBarres claim to  have been seeking financing

            to  facilitate a bid on the property at the foreclosure sale,

            but say  that they abandoned those efforts when the agreement

            to deliver the deed  in lieu of foreclosure was reached.  One

            day  before  the  scheduled foreclosure  sale,  however,  the

            LaBarres received  a faxed  appraisal from Shepard  and Parks

            indicating  that the  property was  worth only  $125,000, and

            that  they would  give the  LaBarres credit  for 70%  of that

                                
            ____________________

            balance.   Thus, it is unclear whether the foreclosure was an
            attempt to collect on the judgment or the note; we will treat
            it as a mortgage foreclosure on the note.

                                         -5-
                                          5















            amount, i.e., $87,500 against the amount  due.6  The LaBarres

            apparently rejected that offer, and the foreclosure sale went

            ahead as scheduled.  The only bidders were Shepard and Parks,

            who,  upon  the  advice  of counsel,  jointly  purchased  the

            property for $87,500.

                      Sometime later, the LaBarres paid Shepard and Parks

            $17,500  to  obtain the  release  of  an  attachment  on  the

            Labarres'  property  in  Massachusetts;  this  was  the  only

            payment made  by the LaBarres  other than their  initial down

            payment.

                                         II.
                                         II.
                                         ___

                                  Proceedings Below
                                  Proceedings Below
                                  _________________

                      The  LaBarres  brought  this  diversity  action  in

            federal district court in  Massachusetts, seeking redress for

            the  refusal of Shepard and  Parks to honor  their promise to

            accept, on terms acceptable  to the LaBarres, a deed  in lieu

            of  foreclosure.    The LaBarres' complaint,  as amended, was

            framed in  five counts: (I) unfair  and improper foreclosure,

            (II) breach of contract, (III) intentional misrepresentation,

            (IV) fraud, and (V) unfair and deceptive trade practice under

            New Hampshire's Consumer Protection Act, N.H. Rev. Stat. Ann.

                                
            ____________________

            6.  It is  unclear from  the  record, and  neither party  has
            explained,  whether  the  credit was  to  be  applied  to the
            outstanding  balance on  the mortgage  note or  to the  state
            court judgment.  Given  the cryptic nature of  that judgment,
            see supra note 3,  this lack of precision is  not surprising.
            ___ _____
            For simplicity, we will  speak in terms of credit  toward the
            balance on the mortgage note.

                                         -6-
                                          6















            ch.  358-A   ("RSA  358-A").    Shepard   and  Parks  brought

            counterclaims  for  (I)  the  deficiency  on  the  foreclosed

            mortgage  and  (II) the  judgment  debt  on the  earlier  New

            Hampshire state court judgment.  

                      The  parties consented  to  a jury  trial with  the

            magistrate judge presiding.   The magistrate judge determined

            that the case was  governed by New  Hampshire law.  Prior  to

            trial, Shepard  and  Parks moved  in  limine to  exclude  all
                                              __  ______

            evidence of  the alleged  oral agreement, which  they claimed

            was barred by  New Hampshire's Statute  of Frauds, N.H.  Rev.

            Stat.  Ann.    506:1  ("RSA  506:1")  (precluding actions  to

            enforce  oral contracts  for the  conveyance of  land).   The

            magistrate  judge  ruled that  the  statute did  not  bar the

            LaBarres' breach  of contract  claim.   After the  trial, the

            magistrate judge explained that, under New Hampshire law, the

            Statute of Frauds did not bar a cause of action for breach of

            an oral settlement agreement between attorneys.

                      After a  three-day trial in March of 1995, the jury

            found for the LaBarres  on all five counts.   Through special

            interrogatories, the  jury specifically  found that  the fair

            market value of the  property at the time of  foreclosure was

            $170,000, and that Shepard and Parks breached an agreement to

            accept a deed  in return  for credit of  $150,000 toward  the

            LaBarre's  mortgage obligation.    The jury  also found  that

            Shepard  and  Parks committed  an  unfair  trade practice  in



                                         -7-
                                          7















            violation of the Consumer Protection Act, RSA 358-A, and that

            the  LaBarres suffered actual damages of $82,500 as a result.

            Although the jury was not asked how it arrived at that actual

            damages   figure,  $82,500  is  the  difference  between  the

            property's fair market value of $170,000 and the $87,500 that

            Shepard and Parks bid at the foreclosure sale.  The jury also

            answered that  the Consumer Protection Act  damages should be

            trebled.7

                      The magistrate judge directed a verdict for Shepard

            and Parks on their counterclaims, and then ruled, in essence,

            that the  mortgage balance  due, as calculated  in the  state

            court judgment,  was the  proper measure  for a  single, non-

            duplicative recovery, satisfying both counterclaims.8

                                
            ____________________

            7.  In his memorandum of decision dated September 5, 1995,
            the magistrate judge explained that, although he should have
            decided whether to double or treble the Consumer Protection
            Act damages rather than the jury, Shepard and Parks had
            waived the issue.  Shepard and Parks raised no objection at
            trial, and they now concede that the error has not been
            preserved for appeal.  We express no opinion whether the
            multiplication of damages under New Hampshire's Consumer
            Protection Act is for the jury or the judge.

            8.  The special interrogatory form indicated that Shepard and
            Parks  were entitled to recover on  the state court judgment,
            specifying that amount as $239,109; the actual calculation in
            that  judgment  was  $239,729.    See  supra  note  4.    The
                                              ___  _____
            difference between  the two  figures is the  interest applied
            for the period from  May 20, 1993  (apparently the date of  a
            stipulated  interest calculation)  through June 7,  1993 (the
            date of the state  court judgment).  Neither figure  includes
            interest  from mid-1993  through the  March 1995  judgment in
            this case.
                      The parties,  however, do  not assert any  error in
            the calculation  of the counterclaim recovery  by Shepard and
            Parks.

                                         -8-
                                          8















                      Recognizing that the claims for breach of contract,

            misrepresentation,  and fraud  were, in  essence, alternative

            theories  of  improper   foreclosure,  the  magistrate  judge

            treated   Counts II, III, and IV  as subsumed in Count I, the

            improper  foreclosure count.   Rather  than  awarding damages

            outright  on Count  I, the  magistrate judge  implemented the

            jury's  findings  on Counts  I  through IV  by  crediting the

            LaBarres  with the full  fair market  value of  the property,

            $170,000, in  calculating the amount due to Shepard and Parks

            on their counterclaims.

                      The magistrate judge then awarded treble damages of

            $247,500 to the LaBarres on  Count V, the Consumer Protection

            Act   count,   in   accordance  with   the   jury's   special

            interrogatory answers.  The judge ruled that although Count V

            was "based on the same factual allegations as were alleged in

            each of  the other  four counts  of the LaBarres'  Complaint,

            they  are entitled to  an independent recovery  under Count V

            for  violation  of  the  New  Hampshire  Consumer  Protection

            statute."    The  magistrate  judge also  awarded  costs  and

            reasonable  attorney fees to the LaBarres, as provided in the

            Consumer Protection Act.

                      Shepard  and  Parks moved  for  a  new trial  under

            Federal  Rule  of Civil  Procedure 59(a),  to  no avail.   On

            appeal, Shepard  and  Parks  raise  two of  the  issues  they

            asserted  in their Rule 59(a) motion.  First, they argue that



                                         -9-
                                          9















            evidence  of  the alleged  oral  agreement  should have  been

            excluded from  trial under  the Statute of  Frauds.   Second,

            they maintain  that the award  of damages under  the Consumer

            Protection  Act must be reduced by $82,500.  They assert that

            the award  of full  market value  credit against  the balance

            owed on  the mortgage note,  in addition to  trebled Consumer

            Protection Act damages, constituted an improperly duplicative

            recovery  because  all  the  counts were  based  on  the same

            factual allegations.  In effect, they point out, the LaBarres

            received a quadruple recovery, but were  entitled only to the

            damages  under the  largest single  count, i.e.,  the trebled

            Consumer Protection Act damages.

                                         III.
                                         III.
                                         ____

                                      Discussion
                                      Discussion
                                      __________

            1.  The Statute of Frauds
            _________________________

                      The  same factual  allegation  underlies  all  five

            counts: Shepard and Parks orally promised to accept a deed in

            lieu of  foreclosure on terms acceptable to the LaBarres, but

            then reneged on that agreement the day before the foreclosure

            sale.   Shepard and Parks assert that New Hampshire's Statute

            of Frauds  barred all testimony  and evidence of  the alleged

            oral  agreement.   The  statute,  RSA 506:1,  provides:   "No

            action  shall be maintained upon  a contract for  the sale of

            land unless the agreement  upon which it is brought,  or some





                                         -10-
                                          10















            memorandum  thereof, is in writing and signed by the party to

            be charged, or by some person authorized by him in writing."

                      Because the  magistrate judge awarded  damages only

            on  Count  I (improper  foreclosure)  and  Count V  (Consumer

            Protection  Act),   Shepard  and  Parks  recognize  that  the

            judgment  was not based on enforcement of the contract.  They

            argue, rather, that the "entire trial proceeding was tainted"

            by  the  introduction  of  evidence of  the  oral  agreement,

            requiring reversal.

                      The  parties agree  that the  Statute of  Frauds is

            applicable  on its  face to  the  oral agreement  in question

            here.   They expend  much energy, however,  disagreeing about

            whether  one or more exceptions to the statute apply in these

            factual circumstances.   In  doing so,  the parties  miss the

            real issue and misunderstand the operation of the Statutes of

            Frauds.  

                      There  is no  need  here to  decide the  existence,

            scope, or applicability of the asserted common-law exceptions

            to  the Statute  of  Frauds (the  so-called "oral  settlement

            agreement   between  attorneys"   exception  and   the  part-

            performance  exception).   We  hold instead  that, under  New

            Hampshire law,  the Statute of  Frauds is  only a bar  to the

            enforcement  of certain oral contracts;  it is not  a rule of

            evidence.   Evidence of the  oral agreement in  this case was

            relevant  to  the   counts  alleging  improper   foreclosure,



                                         -11-
                                          11















            misrepresentation,   fraud,  and  unfair  trade  practice  in

            violation  of the Consumer Protection Act.  Shepard and Parks

            raise  no claim that the Federal Rules of Evidence barred its

            admission.  Thus, we find no reversible error.

                      We find  clear guidance  in New Hampshire  caselaw.

            The  New Hampshire Supreme Court held  in Munson v. Raudonis,
                                                      ______    ________

            387  A.2d 1174, 1176 (N.H. 1978), that the Statute of Frauds,

            RSA  506:1, did not bar an action  for deceit even though the

            oral promise  that was breached could not be enforced because

            of  the lack  of a  writing.  In  reaching that  holding, the

            Munson court expressly rejected  the argument pressed here by
            ______

            Shepard and Parks, i.e., that  evidence of the oral agreement

            should  have  been  excluded because  the  four  non-contract

            counts  were merely  a  back-door attempt  to circumvent  the

            Statute  of Frauds.  The court in Munson reasoned as follows:
                                              ______

            "Barring an  action  in  deceit because  of  the  Statute  of

            Frauds, however, would not further the policy of the statute.

            Quite the contrary,  it would foster an injustice."   Id.  In
                                                                  ___

            our view, Munson embodies New Hampshire  law on the question,
                      ______

            and the argument raised by Shepard and Parks  must fail.  See
                                                                      ___

            also  Morgan v. Morgan, 47 A.2d 569, 571 (N.H. 1946) (Statute
            ____  ______    ______

            of Frauds did  not bar action  for misrepresentation even  if

            agreement was unenforceable as a contract). 

                      The  Restatement (Second)  of  Contracts, a  source

            often  relied  upon  by  the  New  Hampshire  Supreme  Court,



                                         -12-
                                          12















            provides  additional support  for  this result.   See,  e.g.,
                                                              ___   ____

            Tsiatsios  v.  Tsiatsios, 663  A.2d  1335,  1339 (N.H.  1995)
            _________      _________

            (following  the Restatement);  Patch  v. Arsenault,  653 A.2d
                                           _____     _________

            1079, 1082  (N.H. 1995) (same); Simpson v.  Calivas, 650 A.2d
                                            _______     _______

            318,  327 (N.H. 1994) (same).  Section 143 of the Restatement

            provides  that "[t]he  Statute  of Frauds  does  not make  an

            unenforceable  contract  inadmissible  in  evidence  for  any

            purpose  other  than  its  enforcement in  violation  of  the

            statute."   Restatement (Second)  of Contracts    143 (1981).
                        __________________________________

            The  Comment  to  Section  143 explains  that  "the  Statute,

            despite occasional  statements to the contrary,  does not lay

            down a rule of evidence, and an unenforceable contract may be

            proved for any legitimate purpose."  Id.   143 cmt. a.
                                                 ___

                      It  does not  matter  that  the magistrate  judge's

            reason for  admitting evidence of the  alleged oral agreement

            was his  conclusion  that a  purported  "lawyer's  settlement

            agreement" exception (or alternatively,  the part-performance

            exception) put  the agreement outside the  Statute of Frauds.

            While we  are skeptical whether that  conclusion was correct,

            we  can affirm the admission of evidence on any proper basis,

            even  if the trial judge  relied on a  different ground.  See
                                                                      ___

            United  States v. Nivica, 887 F.2d 1110, 1127 (1st Cir. 1989)
            ______________    ______

            (no  reversal  where  trial   court  admits  evidence  on  an

            incorrect  basis, if  properly  admissible for  same  purpose

            under  different rule  of evidence),  cert. denied,  494 U.S.
                                                  _____ ______



                                         -13-
                                          13















            1005 (1990);  cf. Ticketmaster-New  York, Inc. v.  Alioto, 26
                          ___ ____________________________     ______

            F.3d 201, 204 (1st Cir. 1994) (appellate court free to affirm

            the district court's judgment on any independently sufficient

            ground manifest in the record).

                      Because the  evidence of the alleged oral agreement

            was  admissible  for  purposes   other  than  enforcing  that

            agreement, i.e.,  to prove the four  non-contract counts, and

            because the  breach  of contract  count  did not  affect  the

            judgment,  there is  no  reversible error  in the  magistrate

            judge's ruling on the applicability of the Statute of Frauds.

            2. Duplicative Damages
            ______________________

                      The jury  found that the  fair market value  of the

            LaBarres' property  was $170,000 at the  time of foreclosure.

            As damages for Counts I through IV, the magistrate judge gave

            the LaBarres  credit  for  the  full $170,000  as  an  offset

            against the judgment  for Shepard and  Parks on the  mortgage

            balance.  This placed the LaBarres in an even better position

            than if they had delivered a deed in lieu of foreclosure  for

            $150,000  credit,   as  the  parties  had  allegedly  agreed.

            Shepard and Parks have not appealed the award of the $170,000

            credit for Counts I through IV.  

                      Because Shepard  and Parks had bid  only $87,500 at

            the foreclosure  sale, the $170,000 credit  is the equivalent

            of  a damages award of  $82,500, placing the  LaBarres in the

            position they would have been in if Shepard and Parks had bid



                                         -14-
                                          14















            fair market value at the foreclosure.  There is no doubt that

            this  award  made the  LaBarres  whole,  or  better, for  the

            improper foreclosure.

                      The  jury  also found  that  the  violation of  the

            Consumer  Protection  Act by  Shepard  and  Parks caused  the

            LaBarres actual  damages of  $82,500, which the  jury trebled

            for an award of $247,500.  See RSA 358-A:10.  Because the net
                                       ___

            effect of the credit toward the mortgage was to award $82,500

            above  the amount bid by  Shepard and Parks,  and because the

            Consumer Protection  Act award  was for three  times $82,500,

            the LaBarres  effectively enjoyed a quadruple  recovery.  The

            magistrate  judge  opined  that the  Consumer  Protection Act

            provided  an  independent recovery,  and  thus  there was  no

            improper duplication.  Shepard and Parks assert that this was

            error,  and that the Consumer Protection  Act award should be

            reduced  by $82,500 to limit the net award to treble damages.

            We agree.

                      It  is evident  from the  record, and  the LaBarres

            appear to concede, that  the damages under Count  I (improper

            foreclosure) are based on the same factual allegations as the

            damages under Count  V (Consumer Protection Act).   The award

            on  Count I  (in which  all the  four common-law  counts were

            subsumed)  was based  on the  $82,500 difference  between the

            fair  value and  the  bid price;  the  same amount,  $82,500,

            obviously reflecting  the same  difference  between the  fair



                                         -15-
                                          15















            value  and  the bid,  was awarded  and trebled  (to $247,500)

            under the RSA  358-A count.  Nonetheless, the  LaBarres argue

            that  this  quadruple award  was  proper  because   they  are

            entitled to an  "independent recovery" under  New Hampshire's

            Consumer Protection Act.

                      The  LaBarres, however,  point  to  nothing in  the

            statute  or in  any New  Hampshire case  that  supports their

            contention  that  the  Consumer  Protection Act  provides  an

            "independent  recovery."   We  have  found  no New  Hampshire

            authority directly on  point, but we  are confident that  New

            Hampshire's Supreme  Court  would  follow  its  general  rule

            against duplicative  recoveries and  would find the  award in

            this case erroneous.   See Phillips v. Verax Corp.,  637 A.2d
                                   ___ ________    ___________

            906, 912  (N.H. 1994)  ("[T]he plaintiff  is not  entitled to

            multiple  recoveries  for the  same  loss  merely because  he

            alleged alternative theories of recovery."); Clancy v. State,
                                                         ______    _____

            185 A.2d 261, 263 (N.H. 1962) ("Duplication of damages should

            be avoided."); Burke v. Burnham, 84 A.2d 918, 922 (N.H. 1951)
                           _____    _______

            (recovery  of  same  damages   under  two  causes  of  action

            impermissible).   We  hold that  the award  in this  case was

            duplicative, and  that the LaBarres' recovery  may not exceed

            the treble damages  allowable under  the Consumer  Protection

            Act.

                      The  LaBarres argue  that a  Massachusetts decision

            affirming a  damage award  under  the Massachusetts  Consumer



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            Protection Act, Mass.  Gen. L. ch.  93A, supports by  analogy

            the magistrate judge's award  in this case.  The  cited case,

            Multi Technology, Inc. v. Mitchell Management Sys., Inc., 518
            ______________________    ______________________________

            N.E.2d 854,  857 (Mass. App. Ct.), review  denied, 521 N.E.2d
                                               ______  ______

            398  (Mass. 1988),  does not,  however, provide  any support.

            The   plaintiffs  in   Multi  Technology   received  Consumer
                                   _________________

            Protection  Act  damages  in  addition  to  contract  damages

            because the separate counts entailed factually separate items

            of damage.   Id.  The  plaintiff had agreed to  a reduced fee
                         ___

            based on the defendant's misrepresentations. Accordingly, the

            court awarded the agreed amount as contract damages, and also

            awarded the difference between  the plaintiff's standard  fee

            and the  agreed-upon reduced  fee as Consumer  Protection Act

            damages.  Id.  Here, there are no factually separate items of
                      ___

            damage, and the holding in Multi Technology is inapplicable.
                                       ________________

                      Contrary  to the  LaBarres'  assertions  and  their

            misleading  citation  of  Multi  Technology,   the  quadruple
                                      _________________

            recovery in this case is clearly improper under Massachusetts

            law, as well as  New Hampshire law.   In Calimlim v.  Foreign
                                                     ________     _______

            Car Ctr., Inc., 467 N.E.2d 443, 448 (Mass. 1984), the Supreme
            ______________

            Judicial Court held that  "[w]here injury is incurred because

            of conduct which  comprises the elements  of any common  law,

            statutory, or regulatory cause of action, and which is also a

            violation  of  the  Consumer  Protection  Act,  recovery   of

            cumulative damages under multiple counts may not be allowed."



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            The reasoning and  holding in  Calimlim would  unquestionably
                                           ________

            bar the cumulative  recovery in this case, where  the factual

            allegations  and the  items of  actual damages  are identical

            under  the common  law  and Consumer  Protection Act  counts.

            Id.; see also Lexton-Ancira Real Estate Fund, 1972 v. Heller,
            ___  ___ ____ ____________________________________    ______

            826 P.2d  819,  822-24  (Colo.  1992) (en  banc)  (no  double

            recovery for  violation of  Colorado Consumer  Protection Act

            and  common law misappropriation  arising out of  same set of

            facts,and collectingcaseswith similarholdingsin otherstates).

                      To  recapitulate, we  hold  that the  LaBarres were

            improperly awarded quadruple damages, when they were entitled

            to no more than treble damages.

                                         IV.
                                         IV.
                                         ___

                                     Conclusion 
                                     Conclusion
                                     __________

                      For the foregoing reasons, the judgment is affirmed
                                                                 ________

            in part, and  reversed in part.   The damages awarded  to the
            ______________________________

            LaBarres  shall  be  reduced  by $82,500,  and  any  interest

            awarded on the judgment  shall be adjusted accordingly.   The

            case  is  remanded to  the magistrate  judge  for entry  of a

            corrected damages award consistent with this opinion.













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